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August 20, 2019

VIA ECF

Honorable George B. Daniels
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street, Room 1310
New York, NY 10007

RE: Farmer v. Law Offices of Weiner & Weiner, et al.
Docket No.: 19-cv-7115

Dear Judge Daniels:

We write in connection with the letter submitted by Mark Silver on behalf of certain
entities listed as defendants in the Complaint filed in the captioned matter. Budd Larner, A
Professional Corporation, Henry A. Larner, Mark D. Larner, Mitchell Rait, Peter John Frazza,
and Susan Reach Winters (“Budd Larner Defendants”) have also recently become aware of the
Complaint filed in this matter.’ The Budd Larner Defendants join in the request that the Court,
after reviewing the Complaint, consider dismissing this frivolous action sua sponte, or, in the
alternative, schedule a court conference to provide guidance on how to proceed in this matter.

With the exception of Mr. Rait, none of the Budd Larner Defendants were even provided
with a copy of the Complaint via the email attached as Exhibit 1 to Mr. Silver’s email, The
Budd Larner Defendants agree with the issues raised in Mr. Silver’s letter regarding improper
service and the frivolous and baseless allegations contained in the Complaint and anticipate that
they would proceed in a similar manner if service is ever properly made. The Budd Larner
Defendants also note that there are significant questions regarding personal jurisdiction with
respect to some, if not all, of them. By contacting the Court on this matter, none of the Budd
Larner Defendants waive their right to contest the improper service of process or lack of personal
jurisdiction,

 

' We are not, at this time, aware of any entity named “D/B/A/ Budd Laner, P.C.,” which is listed in the Complaint as
a defendant in its own right.
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Thank you for your consideration of this matter.

Respectfully,

Is! Kenneth M. Labbate

Kenneth M. Labbate
ce: The Honorable Ona T. Wang, U.S.M.J. (via ECF)

Richard Farmer (via e-mail and U.S. Mail)
Mark K. Silver (via e-mail)
